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Attorneys for Plaintiff,

PETER YATES

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

PETER YATES, an Individual

Plaintiff,
vs.

DAVID B. ADAMS, Individually, and d/b/a
TRANSMEDIA, INC.; TRANSMEDIA POST
PRODUCTION; TRANSMEDIA RADIO
NETWORKS; MEDIAFAX, INC.; and
SPOTTRAFFIC, INC.; NEXSTAR
BROADCASTING GROUP, INC.,

Owner of KGPE-TV; SEAL ROCK
BROADCASTERS, LLC, Owner of

KCBA-TV; SARKES TARZIAN, INC.,

Owner of KTVN-TV; GRAY TELEVISION,
INC., Owner of KOLO-TV; SINCLAIR
BROADCAST GROUP, INC., Owner of
KRXI-TV; INTERMOUNTAIN WEST
COMMUNICATIONS COMPANY, INC.,
Owner of KRNV-TV; COMCAST CORPORATION,
Owner of 301-TV; COMCAST CORPORATION,
Owner of 6300-TV; and DOES 1 through 300,
inclusive,

Defendants.

Case No.: 3:15-cv-04912-JD

PETER YATES NOTICE OF
MOTION AND MOTION TO
WITHDRAW AS COUNSEL
FOR PLAINTIFF; [PROPOSED]
ORDER GRANTING MOTION
TO WITHDRAW

Date: April 20, 2017
Time: 10:00 a.m.
Judge: Hon. James Donato

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NOTICE OF MOTION

TO THE PARTIES AND THEIR ATTORENYS OF RECORD:

PLEASE TAKE NOTICE that on Thursday, April 20, 2017, at or as soon thereafter as
the matter may be heard before the Honorable James Donato, United States District Judge,
Courtroom 11, 19" Floor, of the United States District Court for the Northern District of
California, San Francisco Division, 450 Golden Gate Avenue, San Francisco, California
94102, R. Craig Lusiani, of Kozak Lusiani Law, LLC, 3100 Mill Street, Suite 115, Reno,
Nevada 89502, shall and hereby does respectfully seek leave of the case pursuant to LOCAL
R. 11-5(a) and in compliance with Cal. R. Prof. CONDUCT 3-700 (A)(1)(C)(5), to withdraw
as counsel for Plaintiff Peter Yates.

MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

Pursuant to LOCAL R. 11-5, R. Craig Lusiani (“Movant”) hereby notifies parties and
the Court of his intent to withdraw as counsel for Plaintiff. Movant states the following
grounds for this notice and motion:

1. Movant has represented Plaintiff as part of his copyright case against Defendants.

2. This case was closed on March 1, 2017 with the remaining court action dealing with

Defendants Motion for Attorney Fees and Costs. Those issues have been discussed
at length with Plaintiff and with that in mind, Plaintiff has knowingly and freely
given permission to Movant for termination of his employment pursuant to Cal. R.
Prof. CONDUCT 3-700 (A)(1)(C)(5).

3. Movant’s withdrawal will not cause any prejudice or delay in this case.

4. Movant respectfully requests the court waive oral arguments.

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THEREFORE, Movant R. Craig Lusiani respectfully requests that this Court waive oral
argument on this Motion, grant him leave to withdraw as counsel in the above-captioned matter,
and enter an order stating the Movant has so withdrawn.

DATED this 7" day of April 2017.

R. Craig Lusiani
Kozak Lusiani Law, LLC

/s/ R. Craig Lusiani, Esq.
Attorneys for Plaintiff,
PETER YATES

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PROOF OF SERVICE

I am a resident of the State of Nevada. I am over the age of eighteen years, and not a
party to this action. My business address is 3100 Mill Street, Suite 115, Reno, Nevada 89502.

On April 7, 2017, I served true copy of the following document(s):

PETER YATES NOTICE OF MOTION AND MOTION
TO WITHDRAW AS COUNSEL FOR PLAINTIFF;
[PROPOSED] ORDER GRANTING MOTION TO WITHDRAW

on each of the parties as follows:

BY CM/ECF NOTIC OF ELECTRONIC FILING: | electronically filed the
document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
who are registered CM/EFC users will be served by the CM/ECF system. Participants in the
case who are not registered CM/ECF users will be served by mail or by other means permitted
by the court rules.

I declare under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct and that I am employed in the office of a member of the bar of
this Court at whose direction the serve was made.

Executed on April 7, 2017, at Reno, Nevada.

/s/ Dedra L. Sonne
Dedra L. Sonne

